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 1   Beth A. Wilkinson (admitted pro hac vice)
     Brian L. Stekloff (admitted pro hac vice)
 2   Rakesh N. Kilaru (admitted pro hac vice)
     Jeremy S. Barber (admitted pro hac vice)
 3   WILKINSON STEKLOFF LLP
     2001 M Street NW, 10th Floor
 4   Washington, DC 20036
     Telephone: (202) 847-4000
 5   Facsimile: (202) 847-4005
     bwilkinson@wilkinsonstekloff.com
 6   bstekloff@wilkinsonstekloff.com
     rkilaru@wilkinsonstekloff.com
 7   jbarber@wilkinsonstekloff.com
 8   Counsel for Defendants National Football
     League, NFL Enterprises LLC, and the
 9   Individual NFL Clubs
10   [Additional Counsel Listed on Signature
     Pages]
11
12                                UNITED STATES DISTRICT COURT
13                              CENTRAL DISTRICT OF CALIFORNIA
14
       IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668−PSG (JEMx)
15     LEAGUE’S “SUNDAY TICKET”
16     ANTITRUST LITIGATION                      MEMORANDUM IN SUPPORT
       ______________________________            OF THE NFL DEFENDANTS’
17                                               MOTION TO EXCLUDE THE
18     THIS DOCUMENT RELATES TO:                 OPINIONS OF DANIEL A.
       ALL ACTIONS                               RASCHER
19
20                                               Judge: Hon. Philip S. Gutierrez

21                                               Date: January 13, 2023
22                                               Time: 1:30 p.m.
                                                 Courtroom:
23                                                     First Street Courthouse
24                                                     350 West 1st Street
                                                       Courtroom 6A
25                                                     Los Angeles, CA 90012
26
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 1                                        PRELIMINARY STATEMENT
 2           In order to obtain class certification, Plaintiffs need to show that the key issues
 3   of antitrust injury and damages are capable of resolution by common proof. Plaintiffs
 4   have enlisted Dr. Daniel Rascher, an economist, to try to meet that burden. Dr.
 5   Rascher does three things of import at this stage of the case. First, he lays out three
 6   “but-for worlds”—antitrust terminology for Plaintiffs’ visions of how NFL games
 7   would be televised absent some or all of the business agreements being challenged
 8   in this case. Second, he claims that injury and damages can be measured class-wide
 9   in one of those but-for worlds based not on any economic model, but on a factual
10   scenario he has constructed in which every single Sunday afternoon NFL game can
11   be accessed through a basic cable subscription. Third, he claims that injury and
12   damages can be measured class-wide in the other two hypothetical worlds by doing
13   basic arithmetic with numbers lifted from the expert report of Plaintiffs’ other
14   economist (Dr. Douglas Zona).
15           These conclusions are inadmissible as a matter of law. As we explain in our
16   separate brief in opposition to class certification, Dr. Rascher’s opinions are not valid
17   evidence supporting class certification. The law is clear that the accepted way to
18   show class-wide injury and damages in an antitrust case is to present a reliable
19   economic model, and Dr. Rascher has prepared no such model. See, e.g., In re Rail
20   Freight Fuel Surcharge Antitrust Litig., 725 F.3d 244, 253 (D.C. Cir. 2013) (“Rail
21   Freight I”) (“No damages model, no predominance, no class certification.”).
22           In this motion, we explain why Dr. Rascher’s conclusions are not the product
23   of reliable methods and should be excluded under Rule 702. The expert report of Dr.
24   Mark Israel explains in detail the many economic flaws with Dr. Rascher’s analysis.
25   See Kilaru Decl. Ex. 1 (Expert Report of Mark Israel) (“Israel Report”). Here, we
26   focus on three categories of flaws warranting exclusion under Rule 702.
27           First, Dr. Rascher’s conclusions rest on a series of implausible assumptions
28   directly contradicted by the factual record in this case. Dr. Rascher purports to
                                                    1
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 1   predict how the NFL, its member clubs, DirecTV, broadcast networks, and other
 2   media distributors would act in a world without the agreements being challenged.
 3   But he ignored virtually all the documents from those entities, and virtually all the
 4   testimony from their representatives.           Instead, he offers mere speculation
 5   unsupported by the facts. Courts, including in this Circuit, routinely exclude analysis
 6   that is based on “nothing but [] ipse dixit” and without a factual basis. Domingo ex
 7   rel. Domingo v. T.K., 289 F.3d 600, 607 (9th Cir. 2002); see also Guidroz-Brault v.
 8   Mo. Pac. R.R. Co., 254 F.3d 825, 831 (9th Cir. 2001).
 9           Second, Dr. Rascher’s conclusions as to damages are inadmissible because
10   they are not the product of a rigorous methodology. His conclusions involve nothing
11   more than “grade-school arithmetic counsel can do on an easel” often with numbers
12   provided by Dr. Zona. Waymo LLC v. Uber Techs., Inc., 2017 WL 6887043, at *5
13   (N.D. Cal. Nov. 14, 2017) (excluding expert).             And in two of his damages
14   calculations, he simply accepts the results of Dr. Zona’s models without doing
15   anything “to ensure [their] reliability.” Fosmire v. Progressive Max Ins. Co., 277
16   F.R.D. 625, 629 (W.D. Wash. 2011). Rule 702 prohibits this approach.
17           Third, while Dr. Rascher purports to address the issues of antitrust injury and
18   damages for both the residential and commercial classes of Sunday Ticket
19   purchasers, he does literally no analysis of the latter. Indeed, the only place his report
20   mentions the commercial class is when he includes their purchases in his damages
21   calculation. This type of drive-by analysis is also inadmissible.
22                                        BACKGROUND
23           Defendants’ Class Certification Opposition lays out the factual and procedural
24   background of this case. In this brief, we focus on the background issues most
25   relevant to understanding the flaws with Dr. Rascher’s work.
26           Dr. Rascher claims that all of the issues in this case can be resolved with
27   common proof. See generally Expert Report of Daniel A. Rascher, Dkt. 633-4
28   (“Rascher Report”). At the class certification stage, however, the key issue is
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 1   whether antitrust injury and damages can be resolved on a class-wide basis. See
 2   Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 676
 3   (9th Cir. 2022); Rail Freight I, 725 F.3d at 252; In re High-Tech Emp. Antitrust Litig.,
 4   289 F.R.D. 555, 566 (N.D. Cal. 2013) (collecting cases). As noted above, Dr.
 5   Rascher does not attempt to generate any economic model to address these issues,
 6   though he has attempted to do so in other cases. See, e.g., Shields v. Fed’n
 7   Internationale de Natation, 2022 WL 425359 at *9–10 (N.D. Cal. Feb. 11, 2022)
 8   (describing Dr. Rascher’s before and after economic model, but deeming the model
 9   insufficient to support class certification).
10           Instead, Dr. Rascher lays out three but-for worlds in his report—in other
11   words, predictions of how NFL games would be distributed absent the agreements
12   being challenged in this case. He then asserts that class members uniformly would
13   be better off in each of those worlds. These but-for worlds provide the critical
14   infrastructure for Plaintiffs’ claims that they can prove class-wide injury and
15   damages. Below, we lay out what Dr. Rascher considered in developing those
16   worlds, and his vision of how each world operates.
17           Dr. Rascher’s limited consideration of the record. This case contains a
18   robust record that could theoretically inform a robust analysis of the media landscape
19   in which the NFL and its partners distribute NFL games. As the Court well knows,
20   discovery in this case has been extensive. The NFL Defendants produced almost
21   140,000 documents; DirecTV produced more than twice that many documents (in
22   addition to almost a hundred terabytes of data); and 15 other third parties—including
23   numerous networks, multichannel video programming distributors (“MVPDs”), and
24   other companies—have produced thousands of additional documents. In addition,
25   the parties have deposed dozens of fact witnesses.
26           Dr. Rascher ignored virtually all of this evidence. His reliance list contains a
27   small fraction of documents produced in the case. See Kilaru Decl. Ex. 2 (Transcript
28   of Deposition of Daniel A. Rascher 24:16–20, 32:11–34:17) (“Rascher Tr.”).
                                                 3
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 1                                                                                            , including
 2   from the following witnesses Plaintiffs pushed to depose:
 3           • Any current or former NFL employee besides Roger Goodell and Brian
 4                Rolapp. That includes the testimony of Hans Schroeder, one of the NFL’s
 5                30(b)(6) witnesses, who explained the NFL’s
 6
 7
 8           • Jerry Jones, the owner of the Dallas Cowboys, and Jed York, the CEO of
 9                the San Francisco 49ers—owners of clubs that have voted to
10                                        ;
11           • Jeff Dunn, Vice President of Business Strategy & Analytics for the Seattle
12                Seahawks, who helped inform club ownership on media issues;
13           • Every one of the five DirecTV witnesses who testified by the time of Dr.
14                Rascher’s deposition, including witnesses who testified to the
15
16
17           • Larry Jones, the Executive Vice President of Fox Sports, and Sean
18                McManus, Chairman of CBS Sports, who discussed
19
20                                            and
21           • Witnesses from NBC, ESPN, and Comcast who testified about similar
22                issues.
23   Rascher Tr. 26:11–31:16. Despite not considering any of this evidence or testimony,
24   Dr. Rascher goes on to describe three but-for worlds predicting how all of these
25   different entities would behave under different economic conditions.
26           The College Football But-For World. Dr. Rascher’s primary but-for world
27   involves an analogy to college football. In technical antitrust terms, Dr. Rascher uses
28   college football as a “yardstick.” Using the yardstick method to calculate antitrust
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  1   damages requires establishing “product, firm, and market comparability.” Tawfilis
  2   v. Allergan, Inc., 2017 WL 3084275, at *6 (C.D. Cal. June 26, 2017) (cleaned up).
  3   But Dr. Rascher spends virtually none of his report addressing any of those issues.
  4            Dr. Rascher posits that absent the agreements Plaintiffs are challenging, the
  5   clubs would stop pooling their telecast rights for distribution on free broadcast
  6   television—conduct which is protected from antitrust scrutiny by the Sports
  7   Broadcasting Act, 15 U.S.C. § 1291.
  8
  9                          Rascher Tr. 178:22–179:16
 10                                        . In Dr. Rascher’s view, the clubs or divisions would all
 11   decide to make their games available through traditional television channels—either
 12   broadcast television channels (principally ABC, CBS, Fox, and NBC) or certain
 13   cable channels (e.g., ESPN, ESPN2, ESPNU, FS1, FS2, and CBSSN). Rascher
 14   Report ¶ 250; Rascher Tr. 182:20–183:2.
 15
 16                                                                                             Id. at 103:21–
 17   104:3.
 18            Under Dr. Rascher’s model,
 19                                                                      , id. at 166:23–167:1,
 20                                                                                               , id. at 165:3–
 21   167:18. If a game were televised on, say, FS1 (a cable channel), fans everywhere in
 22   the country would have to subscribe to a cable package containing FS1 to watch it.
 23            Dr. Rascher also claims that all of the individual game feeds would be
 24   available as part of a bundle provided through some streaming service. Rascher
 25   Report ¶ 270. Dr. Rascher claims,
 26                                                                                  Id. ¶¶ 268–269.
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  1                                                                              Kilaru Decl. Ex. 3
  2   (Transcript of Deposition of Sarah Butler 145:19–147:8) (“Butler Tr.”).
  3           Taking these points together, Dr. Rascher concludes that all amounts paid by
  4   residential and commercial class members for Sunday Ticket
  5   constitute damages in this case, because class members would have gotten all of the
  6   content in Sunday Ticket as part of their satellite subscriptions. Rascher Report
  7   ¶ 286. As a “conservative” adjustment, he claims that the cost of the basic cable
  8   package would increase by no more than                            . Id. ¶ 261. The way he
  9   reaches that conclusion is not by any economic modeling, but simple division: He
 10   divides the current yearly rights fee paid by DirecTV for Sunday Ticket by the
 11   number of households with cable or satellite service. Id. ¶ 261 & n.298. With this
 12   adjustment, Dr. Rascher ultimately calculates damages of                            (pre-trebling).
 13   Id. ¶ 282.
 14           The Non-Exclusive But-For World. In his second proposed but-for world,
 15   Dr. Rascher imagines that DirecTV no longer has exclusive rights to broadcast the
 16   NFL’s out-of-market games, and that the NFL makes the existing Sunday Ticket
 17   package available to multiple distributors. Id. ¶ 31. This but-for world is roughly
 18   analogous to how out-of-market games are distributed in professional basketball and
 19   baseball. Id. ¶ 284.
 20                                                                                                Rascher
 21   Tr. 156:21–157:8.
 22           Dr. Rascher’s damages model in this world consists of simple arithmetic pulled
 23   from Dr. Zona’s separate report. Dr. Zona prepared several economic models to
 24   simulate the price of Sunday Ticket if it were distributed by multiple parties. Id.
 25   ¶ 284. Dr. Zona then compares those simulated prices with DirecTV’s residential list
 26   prices for Sunday Ticket and comes up with a ratio between the two. Id. Dr. Rascher
 27   averaged a few of these ratios (which he terms “reduction factors”) together, and then
 28   multiplied them by Dr. Zona’s separate calculation of the total amounts paid by class
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  1
  2                             Id. at 43:6–14. Based on Dr. Zona’s comparison between the
  3   residential list prices for Sunday Ticket and the            but-for world price offered by
  4   Dr. Zona’s modeling, Dr. Rascher replicates the same basic arithmetic above to
  5   project damages of                   (pre-trebling). Rascher Report ¶ 283.
  6                                        LEGAL STANDARD
  7           Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm.,
  8   Inc., 509 U.S. 579 (1993), a district court “must act as a ‘gatekeeper’” and “mak[e]
  9   a preliminary determination that [an] expert’s testimony is reliable” before admitting
 10   that testimony for evidentiary purposes. Ellis v. Costco Wholesale Corp., 657 F.3d
 11   970, 982 (9th Cir. 2011). In the class certification context, “[t]he Ninth Circuit has
 12   approved of a rigorous application of [the Daubert standard]” and the Court “must
 13   consider [] evidentiary objections to Plaintiffs’ experts” prior to “addressing the
 14   merits of the certification motion.” In re 5-Hour Energy Mktg. & Sales Pracs. Litig.,
 15   2017 WL 2559615, at *3 (C.D. Cal. June 7, 2017) (citing Ellis, 657 F.3d at 982). As
 16   the party offering Dr. Rascher as an expert, Plaintiffs “bear[] the burden of
 17   establishing that Rule 702 is satisfied.” Sundance Image Tech., Inc. v. Cone Editions
 18   Press, Ltd., 2007 WL 935703, at *4 (S.D. Cal. Mar. 7, 2007) (citing Allison v.
 19   McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999)).
 20                                           ARGUMENT
 21   I.      Dr. Rascher’s Proposed But-For Worlds Are Based On Ungrounded
 22           Assumptions Contrary To The Factual Record.
 23           Dr. Rascher’s opinions should be excluded under Rule 702 because they are
 24   based on unsupported (and incorrect) assumptions. Courts routinely exclude expert
 25   testimony on this basis, and this Court should do the same.
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  1           A. Courts Routinely Exclude Expert Testimony That Is Based On
  2                Unsupported Assumptions.
  3           Rule 702 expressly requires that expert testimony be “based on sufficient facts
  4   or data.” Fed. R. Evid. 702(b); see also, e.g., Guidroz-Brault, 254 F.3d at 831 (“an
  5   expert must back up his opinion with specific facts”) (cleaned up). In other words,
  6   the expert’s mere say-so is insufficient to carry the burden of establishing
  7   admissibility. As the Supreme Court has repeatedly cautioned, “nothing in either
  8   Daubert or the Federal Rules of Evidence requires a district court to admit opinion
  9   evidence that is connected to existing data only by the ipse dixit of the expert.”
 10   Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 157 (1999) (quoting Gen. Elec.
 11   Co. v. Joiner, 522 U.S. 136, 146 (1997)); see also, e.g., Domingo, 289 F.3d at 607
 12   (affirming exclusion where “there was nothing but [the expert’s] ipse dixit”).
 13           Courts in the Ninth Circuit and throughout the country have routinely applied
 14   these principles to exclude expert testimony where the expert’s opinion was not
 15   sufficiently supported by the factual record. See, e.g., Rearden LLC v. Walt Disney
 16   Co., 2021 WL 6882227, at *5 (N.D. Cal. July 12, 2021) (“Expert testimony is
 17   properly excluded where it relies on assumptions that are not sufficiently founded on
 18   facts.” (citing Guidroz-Brault, 254 F.3d at 830–31)). In particular, courts have
 19   exercised their gate-keeping responsibility to exclude opinions that were based on
 20   assumptions (1) directly contrary to the factual record, and/or (2) without sufficient
 21   grounding because the expert undertook no investigation to determine whether the
 22   assumptions were supported by the facts.
 23           For example, in In re Live Concert Antitrust Litigation, 863 F. Supp. 2d 966
 24   (C.D. Cal. 2012), Judge Wilson excluded a series of economic models in an antitrust
 25   case.     The models purported to establish concert ticket overcharges based on
 26   unfounded assumptions about the marketplace that failed to account for relevant
 27   “major variables.” Id. at 973. One failed model, for example, assumed a conclusion
 28   without considering possible alternative outcomes. Id. at 975. “The only ‘check’”
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  1   the expert performed to test his assumptions was “nothing more than a simple
  2   tautology,” and the assumption was in fact contrary to the record. Id. at 975–76.
  3           Similarly, in Laumann v. National Hockey League, an analogous case
  4   involving a challenge to the distribution of professional baseball and hockey games,
  5   Judge Scheindlin excluded an antitrust model as unreliable because its measurements
  6   of consumer demand were “largely untethered from the actual facts of this case.” 117
  7   F. Supp. 3d 299, 315 (S.D.N.Y. 2015). Plaintiffs in Laumann, represented by some
  8   of the same lawyers for Plaintiffs here, presented an expert who “substituted
  9   mathematical assumptions for actual, readily-obtainable information in determining
 10   how hockey and baseball fans will behave in the BFW.” Id. If the expert had done
 11   “some extra legwork,” he might have “uncovered data” that further supported his
 12   model. Id. at 318–19. Because he did not do so, there was “too great an analytical
 13   gap between the data and the opinion proffered,” and the court excluded the
 14   testimony as “based on insufficient facts and data.” Id. at 319; see also Am.
 15   Booksellers Ass’n, Inc. v. Barnes & Noble, Inc., 135 F. Supp. 2d 1031, 1041–42 (N.D.
 16   Cal. 2001) (excluding antitrust model that contained “too many assumptions and
 17   simplifications that are not supported by real-world evidence”).2
 18
 19
              2
 20            See also, e.g., Pottenger v. Potlatch Corp., 329 F.3d 740, 748 (9th Cir. 2003)
      (excluding expert whose report took “into account only two variables” and “fail[ed]
 21   to account for other relevant variables”); Rearden, 2021 WL 6882227, at *7
 22   (rejecting expert who “focus[ed] only on the data that supports the hypothesis and
      ignore[d] the data that undermines it”); Brighton Collectibles, Inc. v. RK Texas
 23   Leather Mfg., 923 F. Supp. 2d 1245, 1255 (S.D. Cal. 2013) (excluding testimony
 24   where the “expert has not grounded his assumption with the real world facts of this
      case”); Bakst v. Cmty. Mem’l Health Sys., Inc., 2011 WL 13214315, at *20 (C.D.
 25   Cal. 2011) (excluding damages calculation that was “based on factual assumptions
 26   that are entirely unsupported in the record”); Wright v. U.S., 2008 WL 820557, at *8
      (D. Ariz. 2008) (excluding testimony that “provided no factual or scientific support”
 27
      and “fail[ed] to address facts in the record contrary to her opinion”); United States v.
 28   W.R. Grace, 455 F. Supp. 2d 1148, 1154 (D. Mont. 2006) (excluding expert
      testimony that was “an untested hypothesis unsupported by any facts or data”).
                                                10
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  1           B. Dr. Rascher’s But-For Worlds Are All Based On Unsupported
  2                Assumptions.
  3           The legal principles just described compel exclusion of each of Dr. Rascher’s
  4   but-for worlds. Each world is based on a series of unfounded assumptions that are
  5   directly contradicted by record evidence that Dr. Rascher does not even know
  6   about—let alone address. There is too great an “analytical gap” between his opinions
  7   and reality. Laumann, 117 F. Supp. 3d at 319.
  8           Indeed, the case for exclusion is even stronger here than in Live Concert and
  9   Laumann. There, the experts purported to do the traditional work of economists in
 10   antitrust cases, i.e., economic modeling of a but-for world. Live Concert, 863 F.
 11   Supp. 2d at 974–75; Laumann, 117 F. Supp. at 315–19. The shortcoming was that
 12   their models were not supported by the evidence. Here, Dr. Rascher has not even
 13   prepared a model, making his failure to account for the facts even more damning.
 14   That is particularly so given the sheer volume of unfounded assumptions and how
 15   integral they are to each of his models.
 16           1. Improper Assumptions In The College Football But-For World.
 17           In every material aspect, Dr. Rascher’s College Football But-For World relies
 18   on assumptions contrary to the factual record:
 19           Dr. Rascher assumes college football is comparable to the NFL. To use college
 20   football broadcasting as a “yardstick,” Dr. Rascher needed to confirm similarity of
 21   “product, firm, and market” between television distribution of NFL football and
 22   college football. Tawfilis, 2017 WL 3084275, at *6. The Tawfilis court admitted the
 23   yardstick method in that case because the expert “conducted the necessary analyses.”
 24   Id. Dr. Rascher did not.
 25           In particular, Dr. Rascher does not meaningfully consider three material
 26   factual differences between NFL and college football television distribution. First,
 27   Dr. Rascher acknowledges that NFL telecasts are uniquely popular, with “almost all
 28
                                                 11
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  1   college games hav[ing] far lower demand than even the least-watched NFL game.”3
  2   Rascher Report ¶ 115. As Dr. Rascher admitted at his deposition,
  3
  4                                                         Rascher Tr. 173:21–24. Following that
  5   logic, the distribution options for more popular content (NFL games) might be more
  6   varied than for college—a point Dr. Rascher does not consider.
  7           Second, the Sports Broadcasting Act “provides a tailored exemption for
  8   ‘professional team sports’ to sell their rights to ‘sponsored telecasts’ [i.e., over-the-
  9   air broadcast games] through a joint agreement,” and does not offer this same
 10   exemption to amateur team sports such as college football. See In re Nat’l Football
 11   League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1146 (9th Cir. 2019). The
 12   ability to pool broadcast rights free from antitrust scrutiny is an obvious distinction
 13   between the sports that affects the media distribution landscape, and Dr. Rascher does
 14   not account for it in his selection of a yardstick.
 15           Third, and relatedly, the NFL has different media priorities from college
 16   football teams and conferences.
 17                                        Kilaru Decl. Ex. 4 (Transcript of Deposition of Roger
 18   Goodell 45:16–24, 209:16–24) (“Goodell Tr.”); Kilaru Decl. Ex. 5 (Transcript of
 19   Deposition of Brian Rolapp 28:17–29:4) (“Rolapp Tr.”), whereas no college team’s
 20   games are all guaranteed for free to any customer. See Israel Report ¶¶ 34, 163–64.
 21   The resulting distinction is critical: Unlike with NFL football, fans of even the most
 22   popular college teams often need to purchase multiple different channels and maybe
 23   even service from both cable and satellite providers to secure access to all of the
 24   teams’ games. See Israel Report ¶ 165
 25
 26
 27
              3
 28               As further explained in Dr. Israel’s report,
                                                Israel Report ¶ 160.
                                                       12
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  1           Dr. Rascher assumes clubs will choose to put games on broadcast or cable. Dr.
  2   Rascher concludes that
  3                 Rascher Tr. 182:24–183:2.
  4                                                                                     , id. at 96:10–13,
  5
  6                         id. at 102:12–19,                                   , id. at 214:9–15,
  7                                        , id. 215:20–216:5. But he ruled out most of those options
  8   based on his conclusion that “the most popular content [is] shown on the most widely
  9   available networks.” Rascher Report ¶ 216; Rascher Tr. 167:15–22.
 10           This assumption runs directly contrary to the facts. At his deposition, Dr.
 11   Rascher admitted to one counterexample after another.
 12
 13
 14
 15                                                                                                                See
 16   Rascher Tr. 173:4–20                                                                                             see
 17   also id. at 174:3–11; 167:15–170:21, 190:15–17.
 18
 19                                        Id. at 173:25–174:14.
 20
 21                                                                                                             Id. at
 22   174:20–175:1. Expert testimony should be excluded when it is “based on factual
 23   assumptions that are entirely unsupported in the record.” Bakst, 2011 WL 13214315,
 24   at *20. Here, Dr. Rascher’s assumption is directly contrary to the record.
 25           Dr. Rascher assumes that every network broadcaster would want to broadcast
 26   games at the same time.
 27
 28   Rascher Tr. 202:22–203:12. That assumption runs contrary to the evidence: Witness
                                                         13
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  1   after witness testified about
  2                                                     See, e.g., Kilaru Decl. Ex. 6 (Transcript
  3   of Deposition of Larry Jones 46:6–7) (“L. Jones (Fox) Tr.”)
  4                                              ; Kilaru Decl. Ex. 7 (Transcript of Deposition
  5   of Sean McManus 42:24–43:3) (“McManus (CBS) Tr.”)
  6
  7
  8                ; Rolapp Tr. 194:16–19
  9
 10                       Goodell Tr. 128:9–12
 11
 12                                              This testimony—much of which Dr. Rascher
 13   ignored—directly undermines the idea that
 14                                                     “[I]gnor[ing] market realities and other
 15   externalities,” as Dr. Rascher has done here, is “sufficient reason[] to exclude” an
 16   opinion. See El Aguila Food Prod., Inc. v. Gruma Corp., 301 F. Supp. 2d 612, 625
 17   (S.D. Tex. 2003), aff’d, 131 F. App’x 450 (5th Cir. 2005).
 18           Dr. Rascher assumes cable channels would want NFL content. Dr. Rascher
 19   also concludes that                                                                     , but the only
 20   record evidence on this point is directly to the contrary. Larry Jones, the Executive
 21   Vice President of Fox Sports, testified at his deposition that
 22
 23
 24
 25                                                                             See L. Jones (Fox) Tr.
 26   29:7–30:8. Again, Dr. Rascher “has not grounded his assumption with the real world
 27   facts of this case.” See Brighton, 923 F. Supp. 2d at 1255.
 28
                                                   14
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  1           Dr. Rascher assumes all NFL games will be part of the basic cable package.
  2
  3                                                                                             . Rascher Tr.
  4   249:16–21.
  5
  6                                                                                            See id. 200:5–
  7   11.
  8
  9
 10
 11
 12                                        See Israel Report ¶ 164.
 13           Dr. Rascher assumes a bundle of games will exist.
 14                                                                                                See Rascher
 15   Tr. 230:24–233:11.
 16
 17                                             id. at 233:5–11, a concept that is contradicted by
 18   real-world examples of
 19                               Israel Report ¶ 163.
 20
 21   Rascher Tr. 80:9–14,
 22                                           . Rascher Report ¶ 269, Butler Tr. 145:19–147:8.
 23           Dr. Rascher’s conclusion is also the product of a results-driven methodology.
 24   Dr. Rascher’s basis for concluding that the streaming package will cost                               is that
 25                                                               Rascher Report ¶¶ 268–69. Dr.
 26   Rascher acknowledges that the lower price may be “due to lower demand,” but rules
 27   that out based upon the fact that the prices for “a yardstick product, NFL licensed
 28   jerseys,” have “similar exchange-rate adjusted prices” in the United States and
                                                         15
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  1   Canada. Id. ¶ 269. To state this analysis is almost enough to refute it. But there is
  2   more:
  3
  4   Rascher Tr. 234:14–18;
  5
  6                          , id. at 234:19–235:5;
  7                           , id. at 236:11–13. An expert who “cherry-pick[s evidence] that
  8   support[s] his conclusion and reject[s] or ignore[s] the great weight of the evidence
  9   that contradicts his conclusions” should be excluded. Rearden, 2021 WL 6882227,
 10   at *7 (quoting In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab. Litig., 524
 11   F. Supp. 2d 1166, 1176, 1184 (N.D. Cal. 2007)).
 12           2. Improper Assumptions In The “Non-Exclusivity” But-For World.
 13           Dr. Rascher’s conclusions about a scenario where Sunday Ticket is available
 14   on multiple platforms are similarly “untethered from the actual facts of this case.”
 15   Laumann, 117 F. Supp. 3d at 315.
 16           Dr. Rascher assumes Sunday Ticket would still consist of CBS and Fox
 17   broadcast feeds.
 18
 19
 20                                                                                                See supra
 21   at 14; Kilaru Decl. Ex. 8 (Transcript of Deposition of Paul Tagliabue Tr. 68:8–69:8,
 22   196:6–22); L. Jones (Fox) Tr. 45:22–47:19; McManus (CBS) Tr. 42:13–44:1.
 23           The record also contains uncontroverted testimony
 24
 25
 26                                                                               Rascher Tr. 157:21–
 27   158:13.
 28                                                                                                       Id. at
                                                      16
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  1   160:13–161:5, Kilaru Decl. Ex. 9 (Transcript of Deposition of Dave Pietrycha
  2   144:17–145:11) (“Pietrycha (NBC) Tr.”).
  3                                                                                              Rascher Tr.
  4   161:18–162:5.
  5           Witnesses from each network explained that
  6
  7                                                   Larry Jones of Fox Sports explained
  8
  9                                                                                                   L. Jones
 10   (Fox) Tr. 103:5–8
 11                                                                           see also id. at 67:7–13.
 12   Similarly, NBC Universal’s corporate representative made clear
 13
 14                                        Pietrycha (NBC) Tr. 145:9–14
 15
 16
 17               And Sean McManus, Chairman of CBS Sports, testified to the same effect.
 18   McManus (CBS) Tr. 71:1–72:15
 19
 20
 21
 22
 23           This example directly undermines Dr. Rascher’s conclusion
 24
 25                                                                                                               Dr.
 26   Rascher does not address this example in any way.
 27           Dr. Rascher assumes the NFL’s Sunday Ticket contract terms would not
 28   change.
                                                      17
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  1
  2                      . Rascher Tr. 145:5–146:18.
  3
  4
  5
  6                See id. 137:2–8; Israel Report ¶ 202; Kilaru Decl. Ex. 10 (Transcript of
  7   30(b)(6) Deposition of DirecTV Witness Jamie Dyckes 34:3–37:6) (“Dyckes
  8   (DirecTV) 30(b)(6) Tr.”).
  9
 10                                        Israel Report ¶¶ 76, 238; Dyckes (DirecTV) 30b6 Tr.
 11   37:7–11.
 12                                                              Israel Report ¶¶ 238–40. Once
 13   again, Dr. Rascher does not grapple with the facts or economics. See Bakst, 2011
 14   WL 13214315, at *20.
 15           Dr. Rascher assumes that discounts and free years would continue to exist. Dr.
 16   Rascher also
 17                                                            , Israel Report ¶¶ 27, 74; Rascher
 18   Tr. 110:4–16; 128:4–130:1,                                                                        Again,
 19   the record evidence is to the contrary.
 20
 21                                                                                                              Id.
 22   at 126:16–127:20
 23
 24           3. Improper Assumptions In The “No Pooling” But-For World
 25           “Analytical gap[s]” also pervade Dr. Rascher’s but-for world in which
 26   DirecTV moves a bundle of games to its basic tier in response to competition from
 27   single-team game packages. Laumann, 117 F. Supp. 3d at 319.
 28
                                                    18
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  1           Dr. Rascher assumes that clubs would make their game broadcasts available
  2   to DirecTV for a bundle.
  3
  4               Rascher Tr. 77:11–16. There is no real-world analogy for the world Dr.
  5   Rascher is imagining, which is reason enough to doubt it. But, as noted above, there
  6   is also no reason to think
  7                                                                 See supra at 15
  8                                                                                          Rascher Tr.
  9   91:19–21; 99:13–15
 10           Dr. Rascher assumes DirecTV would place the bundle on one of its basic tiers.
 11   One of the central premises of this but-for world is that DirecTV provides the bundle
 12   to every subscriber. As Dr. Rascher admitted,
 13           . Id. at 108:5–109:7. A former Senior Vice President at DirecTV testified that
 14
 15                                                                                                   Kilaru
 16   Decl. Ex. 11 (Transcript of Deposition of Alex Kaplan 187:8–19).                            There is
 17   accordingly “nothing but [] ipse dixit” supporting this assumption. Domingo, 289
 18   F.3d at 607.
 19           Dr. Rascher assumes DirecTV would make the bundle available on its lowest
 20   tier. Dr. Rascher further assumes that DirecTV would put the Sunday Ticket bundle
 21   on its lowest priced tier, contradicting DirecTV’s demonstrated business practices for
 22   sports content. In the real world, DirecTV
 23
 24                                              —suggesting DirecTV would not take the
 25   approach Dr. Rascher posits. See Kilaru Decl. Ex. 12 (Transcript of Deposition of
 26   Chris Lauricella 57:4–16).
 27
 28
                                                19
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  1                                           *    *    *
  2           As the foregoing analysis shows, each of Dr. Rascher’s but-for worlds is based
  3   on a series of assumptions that ignore the extensive factual record in this case. One
  4   or two such errors might go to the weight of Dr. Rascher’s testimony, but here there
  5   is one after another. The sheer volume of instances requires exclusion. An economist
  6   who does no modeling and ignores the facts has nothing admissible to offer.
  7   Domingo, 289 F.3d at 607.
  8   II.     Dr. Rascher’s Damages Calculations Are Not The Product Of Sufficiently
  9           Rigorous Analysis.
 10           Dr. Rascher’s damages calculations should separately be excluded because
 11   they are all the type of “grade-school arithmetic” that courts have rejected. Waymo,
 12   2017 WL 6887043, at *5.
 13           In the College Football But-For World, Dr. Rascher initially concludes that
 14
 15
 16
 17   See supra at 6. In the other two but-for worlds, Dr. Rascher simply multiplies the
 18   total amount of money class members spent on Sunday Ticket, generated by Dr.
 19   Zona, by percentages generated from Dr. Zona’s models. This is not the stuff of
 20   admissible expert testimony. See Waymo, 2017 WL 6887043, at *5 (striking expert
 21   who “simply multipl[ied] the units of time espoused by [another expert] with dollar
 22   amounts lifted” from a separate slide); id. (“Straightforward application of grade-
 23   school arithmetic to uncomplicated numbers is well within the ken of the average
 24   juror.”).
 25           Dr. Rascher also fails Rule 702 by simply parroting numbers generated by
 26   another expert.           Dr. Rascher admitted
 27
 28   Rascher Tr. 44:10–20, 45:19–46:25. These failures warrant exclusion. Fosmire, 277
                                                   20
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  1   F.R.D. at 629 (excluding damages model when expert relied on another expert’s
  2   opinion without testing the “underlying data to ensure its reliability”); Waymo, 2017
  3   WL 6887043, at *5 (striking expert who “essentially parroted” another expert).
  4           Finally, Dr. Rascher’s application of these reduction factors involves a series
  5   of implausible assumptions. To calculate damages, Dr. Rascher simply multiplies
  6   every class member’s purchases by a uniform percentage reduction. A simple
  7   example illustrates the flaw with this approach. The reduction factor in the College
  8   Football But-For World is                 . Rascher Report ¶¶ 261, 282. Applying that factor
  9   to named Plaintiff Frantz’s Sunday Ticket purchase in 2014                              suggests Frantz
 10   would have paid just                 for Sunday Ticket. Id. ¶ 285; Rascher Tr. 56:23–57:6.
 11   Applying that factor to named Plaintiff Lippincott’s Sunday Ticket purchase in 2014
 12             suggests Lippincott would have paid just                 for Sunday Ticket. Rascher
 13   Report ¶ 285; Rascher Tr. 59:13–24. These results are disqualifying because they
 14   suggest consumers could have gotten a large quantity of a “prized product,” id. at
 15   80:9, for                                 .
 16           Further, accepting this methodology requires accepting the supposition that
 17   every single member of two diverse classes—a consumer in Chicago, a bar in
 18   Nebraska, a national restaurant chain, and the operator of a crowded casino in Las
 19   Vegas—would have their prices reduced by the exact same amount. Id. at 66:12–
 20   67:8. It also requires accepting the counterintuitive premise that all prices in the real
 21   world—whether list prices, promotional prices, or individually-negotiated deep
 22   discounts—would carry over perfectly into the but-for world.
 23           Courts have rejected economic testimony based on such sweeping and
 24   unsupported assumptions. See In re Optical Disk Drive Antitrust Litig., 303 F.R.D.
 25   311, 321 (N.D. Cal. 2014) (finding expert report did not “provide an adequate basis
 26   for concluding that antitrust injury may be adjudicated on a class-wide basis” where
 27   it “ma[de] no attempt to establish, but instead simply assume[d], class-wide impact”).
 28   This Court should do the same.
                                                        21
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  1   III.    Dr. Rascher Improperly Treats The Commercial And Residential Classes
  2           Uniformly.
  3           Consistent with Plaintiffs’ decision to seek certification of two separate
  4   classes, Dr. Rascher agrees that there are many key distinctions between residential
  5   and commercial subscribers. For instance,
  6                                                                                     Rascher Tr. 69:3–
  7   20. Furthermore,
  8
  9                                                     Id. at 70:5–15.
 10           Notwithstanding his acknowledgment of these differences, Dr. Rascher
 11
 12
 13                                                Id. at 66:12–67:8.
 14
 15
 16                                        This approach presents yet another unprincipled
 17   assumption “not supported by real-world evidence,” justifying the exclusion of Dr.
 18   Rascher. See Am. Booksellers, 135 F. Supp. 2d at 1041–42 (excluding antitrust model
 19   that contained “too many assumptions and simplifications that are not supported by
 20   real-world evidence”).
 21                                         CONCLUSION
 22           For the foregoing reasons, Dr. Rascher’s opinions should be excluded under
 23   Rule 702.
 24
 25
 26
 27
 28
                                                   22
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  1   Dated: November 4, 2022              Respectfully submitted.
  2                                        /s/ Rakesh N. Kilaru
  3                                        Rakesh N. Kilaru (admitted pro hac vice)
                                           Beth A. Wilkinson (admitted pro hac vice)
  4                                        Brian L. Stekloff (admitted pro hac vice)
                                           Jeremy S. Barber (admitted pro hac vice)
  5                                        WILKINSON STEKLOFF LLP
                                           2001 M Street NW, 10th Floor
  6                                        Washington, DC 20036
  7                                        Telephone: (202) 847-4000
                                           Facsimile: (202) 847-4005
  8                                        rkilaru@wilkinsonstekloff.com
                                           bwilkinson@wilkinsonstekloff.com
  9                                        bstekloff@wilkinsonstekloff.com
 10                                        jbarber@wilkinsonstekloff.com

 11                                        Neema T. Sahni (Bar No. 274240)
                                           COVINGTON & BURLING LLP
 12                                        1999 Avenue of the Stars
 13                                        Suite 1500
                                           Los Angeles, CA 90067-6045
 14                                        Telephone: (424) 332-4800
                                           Facsimile: (424) 332-4749
 15                                        nsahni@cov.com
 16                                        Gregg H. Levy (admitted pro hac vice)
 17                                        Derek Ludwin (admitted pro hac vice)
                                           COVINGTON & BURLING LLP
 18                                        One CityCenter
                                           850 Tenth Street NW
 19                                        Washington, DC 20001
 20                                        Telephone: (202) 662-6000
                                           Facsimile: (202) 662-6291
 21                                        glevy@cov.com
                                           dludwin@cov.com
 22
                                           Counsel for Defendants National Football
 23                                        League, NFL Enterprises LLC, and the
 24                                        Individual NFL Clubs

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 26
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       Case No. 2:15-ml-02668-PSG (JEMx)            Memorandum in Support of the NFL Defendants’
                                                    Motion to Exclude the Opinions of Daniel A. Rascher
